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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                                         )
  IN RE PHARMACEUTICAL INDUSTRY                          )   MDL NO. 1456
  AVERAGE WHOLESALE PRICE LITIGATION                     )   Civil Action No. 01-12257-PBS
                                                         )   Subcategory No.: 07-12141-PBS
                                                         )
  THIS DOCUMENT RELATES TO:                              )
                                                         )   Judge Patti B. Saris
  State of Iowa v. Abbott Laboratories, Inc., et al.     )
                                                         )



[PROPOSED] ORDER OF DISMISSAL OF PLAINTIFF’S CLAIMS AGAINST DEFENDANTS
    SANOFI-AVENTIS US LLC, SANOFI-AVENTIS US INC. AND CSL BEHRING LLC

          The Motion for Dismissal is hereby GRANTED. All Claims in this action against

  Defendants sanofi-aventis US LLC, sanofi-aventis US Inc., and CSL Behring LLC are dismissed

  with prejudice and without costs to any party.

          IT IS SO ORDERED

  Dated: _______________, 2011



                                                       _____________________________
                                                       The Honorable Patti B. Saris
                                                       Judge




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